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          EXHIBIT A
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                                        CERTIFICATION PURSUANT TO SECURITIES LAWS



                 José Luis Villasenin
             ________________________ (“Plaintiff”) declares, as to the claims asserted under the federal securities law, that:

                        1.   Plaintiff has fully reviewed and adopts the allegations of the complaint filed in this action alleging

                             violations of the securities laws, and retains the firm of Kahn Swick and Foti, LLC to pursue such action

                             on a contingent fee basis.

                        2.   Plaintiff did not purchase or otherwise acquire unregistered LUNA and UST tokens and other Terra

                             ecosystem securities (“Securities”) at the direction of Plaintiff’s counsel or in order to participate in a

                             private action under the federal securities laws.

                        3.   Plaintiff is willing to serve as a representative party on behalf of a class, including providing testimony

                             at deposition and trial, if necessary.

                        4.   During the Class Period, Plaintiff executed transactions in the Securities and the transactions in the

                             attached Schedule set forth all of the transactions of Plaintiff in the Securities during the Class Period

                             specified in the complaint.

                        5.   In the last three years, Plaintiff has not sought to serve as a representative party on behalf of a class in

                             an action filed under the federal securities laws, except as indicated herein:

                                 Schneider v. Teladoc Health, Inc., No. 22-cv-04687 (S.D.N.Y. Aug. 5, 2022)

                        6.   Plaintiff will not accept payment for serving as a representative beyond his pro rata share of any

                             recovery, except such reasonable costs and expenses (including lost wages) directly relating to the

                             representation of the Class as ordered or approved by the Court.


             I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and

             correct.

                         7/27/2022
             Dated: _____________________

                                                                                      _____________________________________
                                                                                            Signature



                                                                                         José Luis Villasenin
                                                                                      _____________________________________
                                                                                             Printed Name
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                                                             SCHEDULE A
                                DATE              ASSET       TRANSACTION   QUANTITY PRICE (in USD)
                             12/28/2021           LUNA            BUY        661.60549   89.74
                             12/31/2021           LUNA            BUY        119.09119   88.37
                              1/3/2022            LUNA            BUY        145.61703   90.96
                              2/8/2022            LUNA            BUY        396.85098   55.96
                              2/8/2022            LUNA            BUY        396.68726   55.99
                             2/16/2022            LUNA            BUY        252.84496   56.67
                              3/7/2022            LUNA            BUY        159.79161   79.25
                             3/11/2022            LUNA            BUY        110.13087   97.05
                             3/15/2022            LUNA            BUY        118.87798   89.33
                             3/18/2022            LUNA            BUY         64.19303   83.90
                              4/1/2022            LUNA            BUY        106.59018   100.81
